                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE
______________________________________________________________________________

JOHN JOHNSON,                            )
                                         )
      Plaintiff,                         )
                                         )   Case No. 3:12-00941
v.                                       )
                                         )   Judge Campbell
NATIONWIDE EXPRESS, INC.,                )
                                         )   Magistrate Judge Knowles
       Defendant.                        )
______________________________________________________________________________

                     DEFENDANT’S MOTION TO DISMISS
______________________________________________________________________________

            Comes now Defendant Nationwide Express, Inc. (“Nationwide”) and, pursuant to Federal

Rule of Civil Procedure 12(b)(6), moves the Court to dismiss the Complaint. In support of its

motion, Nationwide shows the Court the following:

            1.     Plaintiff’s state law claims should be dismissed pursuant to Federal Rule of Civil

Procedure 12(b)(6). Plaintiff seeks to recover allegedly unpaid claims under an ERISA benefits

plan. A copy of the insurance plan is attached as Exhibit B to Nationwide’s Notice of Removal

(the “Plan”) (Docket No. 1-2). Plaintiff’s claims, however, are completely and/or expressly

preempted by ERISA.

            2.     Not only are these claims preempted by ERISA, but Johnson has not, and cannot,

plead that he has exhausted his administrative remedies provided in the Plan. Therefore, his

efforts to recover his allegedly unpaid claim in this litigation must be dismissed.

            3.     Nationwide submits herewith a Memorandum of Law in support of its Motion to

Dismiss.




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                                                     s/ Andrew S. Naylor_________________
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Motion to Dismiss was
served via first class U.S. Mail upon:

                             William F. Burns, Jr.
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This the 10th day of October, 2012.


                                                     s/ Mark M. Bell_________________




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